              Case 8:13-bk-06404-CPM            Doc 109    Filed 12/07/18    Page 1 of 2



                                          ORDERED.


        Dated: December 04, 2018




                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

IN RE:
JENNIFER KAYE MARLOW

                                            CASE NO. 8:13-bk-06404-CPM
                                            CHAPTER 7
       Debtor(s).
                                            /

             ORDER GRANTING CREDITOR’S MOTION FOR ORDER
       CONFIRMING ABSENCE OR TERMINATION OF AUTOMATIC STAY [DE-92]

       THIS CASE came on for consideration upon the Motion for Order Confirming Absence or
Termination of Automatic Stay [DE-92] filed by Movant, NEW PENN FINANCIAL LLC D/B/A
SHELLPOINT MORTGAGE SERVICING. The Motion has been served upon the parties of interest in
accordance with Local rule 2002-4 and no party of interest has filed an objection to the Motion within
the time permitted. Therefore, the Court deems the Motion to be unopposed, it is
       ORDERED:
       1. The Motion for Order Confirming Absence or Termination of Automatic Stay (Doc. No. 92)
is GRANTED.
       2.   The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Movant’s
enforcement of its mortgage on or security interest in the following property:


File 1000002964
               Case 8:13-bk-06404-CPM           Doc 109      Filed 12/07/18     Page 2 of 2


        BEGINS AT THE SOUTHEAST CORNER OF TRACT 35, PALMER RANCH, THIRD
        UNIT, ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT BOOK 3, PAGE
        39, OF THE PUBLIC RECORDS OF SARASOTA COUNTY, FLORIDA; THENCE
        NORTH 00 DEGREES 1 MINUTE 18 SECONDS EAST, ALONG THE WEST LINE OF
        TATUM ROAD, A DISTANCE OF 444.0 FEET FOR A POINT OF BEGINNING;
        THENCE CONTINUE NORTH 00 DEGREES 1 MINUTE 18 SECONDS EAST, A
        DISTANCE OF 212.35 FEET; THENCE NORTH 98 DEGREES 37 MINUTES WEST, A
        DISTANCE OF 200 FEET; THENCE SOUTH 00 DEGREES 1 MINUTE 18 SECONDS
        WEST, A DISTANCE OF 212.35 FEET; THENCE SOUTH 88 DEGREES 37 MINUTES
        EAST, A DISTANCE OF 200 FEET TO THE POINT OF BEGINNING.

        a/k/a 94 TATUM RD, SARASOTA, FL 34240

        3. This order is entered for the sole purpose of confirming that the Movant may obtain in rem
relief against the property and Movant shall not seek in personam relief against the Debtor.
        4. It is further ordered that that Movant may offer and provide the debtor with information in
regard to a potential Forbearance Agreement, Loan Modification, Refinance Agreement, or other Loan
Workout/Loss Mitigation Agreement, and may enter into such agreement with the debtor provided the
agreement complies with the Bankruptcy Code and all other applicable law. Movant, however, may not
enforce or threaten to enforce any personal liability against the debtor if the debtor’s personal liability
is discharged in this bankruptcy.
        5. The mortgage indebtedness that shall run with this property shall be increased to include
$750.00 for attorney's fees incurred in filing the Motion for Order Confirming Absence or Termination
of Automatic Stay.
        6. The Movant made sufficient allegations and a request in the Motion for Order Confirming
Absence or Termination of Automatic Stay to waive the 14 day stay requirement of Bankruptcy Rule
4001(a)(3). No objection being raised, the automatic stay shall be lifted immediately upon execution of
this order.




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Attorney Alejandro Martinez-Maldonado, Esq. is directed to serve a copy of this order on interested
parties who are non-CM/ECF and to file a proof of service within three days of entry of this order.



File 1000002964
